                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

OREGON NATURAL DESERT
ASSOCIATION; CENTER FOR
BIOLOGICAL DIVERSITY
                                                                  3 :03-cv-00213-PK
               Plaintiffs,
                                                                  OPINION AND ORDER
v.
U.S. FOREST SERVICE; ROGER W.
WILLIAMS, Malheur National Forest
Supervisor; JEFF HUSSEY; SHERRI
HUSSEY; MARK JOYCE; WENDY L.
JOYCE; ANTHONY W. JOYCE;
KATHERINE JOYCE; J&M COOMBS LLC;
CHARLES DUNTEN; DARWIN DUNTEN;
JOHN AHMANN; JUDY AHMANN; ELDER
RANCH, INC.; JOSEPH CRONIN; GAY
CRONIN

               Defendants.




PAP AK, Magistrate Judge:

       Plaintiffs Oregon Natural Desert Association and Center For Biological Diversity

(collectively, "ONDA") bring this action against the United States Forest Service ("Forest

Service") and a forest supervisor (collectively, "Federal Defendants"), alleging that Federal

Defendants' actions and inactions with respect to livestock grazing in the Malheur National
                                                                    1
Forest ("grazing decisions") violate federal environmental statutes. The remaining defendants

are individual grazing permittees that have intervened in this action (collectively, "Intervenor

Defendants"). Now before the court is Plaintiffs' Motion for Leave to File a Fifth Supplemental


1ONDA's proposed Fifth Supplemental and Amended Complaint asserts claims under the
National Wild and Scenic Rivers Act of 1968 ("WSRA"), 16 U.S.C. §§ 1271-1286, and the
National Forest Management Act ("NFMA"), 16 U.S.C. §§ 1600-1614.


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and Amended Complaint for Declaratory and Injunctive Relief (#385) ("ONDA's Motion"). For

the reasons provided below, ONDA's Motion is granted.

                                          BACKGROUND

          Because this case has been ongoing for over 13 years, a brief discussion of its procedural

history is warranted. ONDA initiated this action on Februmy 18, 2003. See Comp!. (#1-1). On

June 3, 2005, the cou1t2 dismissed the case after finding that the Forest Service's Annual

Operating Instructions ("AOis") are not "final agency actions" reviewable under the

Administrative Procedure Act ("APA"). Oregon Nat. Desert Ass'n v. US. Forest Serv., No. CIV.

03-213-JO, 2005 WL 1334459, at *1 (D. Or. June 3, 2005), rev'd and remanded, 465 F.3d 977

(9th Cir. 2006). ONDA appealed.

          In 2006, the Ninth Circuit determined that the AO Is are final agency actions, reversed the

dismissal, and remanded the case for consideration on the merits. Oregon Nat. Desert Ass'n v.

US. Forest Serv., 465 F.3d 977 (9th Cir. 2006). The parties engaged in settlement negotiations

throughout much of2007. Those negotiations failed, and ONDA filed a Third Amended

Complaint (#249) in January of2008. There were relatively few developments in the case

during 2008 and 2009, during which time the pmties continued to discuss settlement and update

the administrative record.

          ONDA filed its Fourth Amended Complaint (#278) ("FAC'') on February 24, 2010. The

F AC is now the operative pleading. The F AC challenges Federal Defendants' grazing decisions

from 2006 through 2009.

         Between 2010 and 2013, the pmties continued to engage in settlement negotiations and

participated in formal mediation. To date, the parties have not reached a settlement. ONDA



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    The Honorable Robert E. Jones, U.S. District Judge.


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now moves to supplement and amend its complaint to challenge grazing decisions made by

Federal Defendants after ONDA filed its FAC in2010.

                                       LEGAL STANDARD

         Federal Rule of Civil Procedure 15(a) governs amendment of pleadings before trial. Rule

15(a)(2) directs trial courts to grant leave to amend "freely whenjustice so requires." Courts

consider the following factors in adjudicating motions to amend: (1) undue prejudice to the

opposing party, (2) undue delay, (3) repeated failure to cure deficiencies by previous

amendments, (4) bad faith, (5) dilatory motive, and (6) futility of the proposed amendment. See

2vfoore v. Kayport Package Exp., Inc., 885 F.2d 531, 538 (9th Cir. 1989) (citations omitted).

         Federal Rule of Civil Procedure 15(d) governs supplemental pleadings. While an

amended pleading contains allegations concerning events that occuned prior to the filing of the

original pleading, a supplemental pleading contains allegations concerning events that occuned

subsequent to the filing of the original pleading. See, e.g., Bittel Tech., Inc. v. Bittel USA, Inc.,

No. Cl0-00719 HRL, 2011WL940300, at *2 (N.D. Cal. Feb. 18, 2011) (citations omitted).

However, the distinction between motions to amend and motions to supplement is largely

academic, as the same legal standard governs both motions. See, e.g., Paralyzed Veterans of

America v. 2vfcPherson, No. C 06-4670 SBA, 2008 WL 4183981, at *26 (N.D. Cal. Sept. 9,

2008).

                                           DISCUSSION

         ONDA proposes to supplement and amend its complaint to challenge Federal Defendants'

grazing decisions from 2010 through present in addition to maintaining its existing challenges to




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Federal Defendants' grazing decisions reaching back to 2006. Intervenor Defendants3 argue that

ONDA's Motion should be denied. According to Intervenor Defendants, ONDA's proposed

supplemental and amended complaint is prejudicial because it would require review of thousands

of pages of administrative records. Intervenor Defendants fmiher argue that the proposed

supplemental and amended complaint is prejudicial because ONDA need not litigate ten years of

agency decisions to obtain the relief it seeks. Intervenor Defendants also contend that the

applicable statute oflimitations bars ONDA from challenging decisions issued more than six

years ago. Finally, Intervenor Defendants argue that ONDA's proposed supplemental and

amended complaint is futile.

       ONDA's Motion is granted. ONDA's proposed supplemental and amended complaint

will not unduly prejudice Intervenor Defendants. Undue prejudice to an opposing party is the

most imp01tant factor a court must consider in deciding whether to grant a motion to amend and

supplement. Eminence Capital, LLCv. Aspeon, Inc., 316F.3d1048, 1052 (9th Cir. 2003) (citing

DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 185 (9th Cir.1987)). The pmty opposing the

motion ca1Ties the burden of showing prejudice. DCD Programs, 833 F.2d at 187 (citation

omitted). Importantly, ordinary prejudice is not sufficient to preclude an amendment or

supplement to a pleading. Because every amendment and supplement will result in some

prejudice, only "undue" or "substantial" prejudice will preclude an amendment or supplement.

See Crane v. United States, No. 3:10-68-AC, 2011WL7277317, at *9 (D. Or. Nov. 29, 2011)




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  Federal Defendants do not oppose ONDA's Motion. Rather, Federal Defendants present the
court with a scheduling issue, requesting that it be permitted to compile a supplement to the
administrative record after the court resolves Federal Defendants' anticipated motion to dismiss
the Fifth Amended Complaint. That issue can be adequately addressed during the next
scheduling conference.


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(citations omitted), report and recommendation adopted, No. 3: 1O-CV-00068-AC, 2012 WL

442748 (D. Or. Feb. 9, 2012).

        Intervenor Defendants argue that the proposed supplemental and amended complaint is

prejudicial because it will "cause a significant burden as Intervenor-Defendants are forced to

review and brief thousands of pages of administrative records." Intervenor Defs.' Resp. 2 (#389).

I disagree. Intervenor Defendants chose to intervene in a complex lawsuit involving allegations

of wrongdoing that reaches back several years into the past and indefinitely into the future.

Consequently, Intervenor Defendants cannot now argue that they are somehow surprised by the

fact that OND A seeks to update its complaint to include allegations of the most recent alleged

wrongdoing. Moreover, ifthe court were to accept Intervenor Defendants' argument and deny

ONDA's Motion, ONDA would likely file an additional and duplicative suit. That result would

fly in the face of Rule 15(d), the purpose of which is "to promote as complete an adjudication of

the dispute between the parties as possible by allowing the addition of claims which arise after

the initial pleadings are filed." William Inglis & Sons Baking Co. v. !IT Cont'/ Baking Co., 668

F.2d 1014, 1057 (9th Cir. 1981) (citations omitted).

       Intervenor Defendants' argument regarding ONDA's purported lack of need to litigate ten

years of agency decisions is even less persuasive. Intervenor Defendants note that, in a related

case, ONDA argued that grazing activities can cause damage that lasts one or more years into the

future. Therefore, Intervenor Defendants argue, if ONDA's allegations in this case are true, they

will be reflected in the most recent years' records. I disagree. ONDA is the master of its claims,

and generally speaking, it is free to litigate them how it sees fit. Records from past years may

very well paint a more complete and accurate picture of the environmental impacts of the grazing

activities underlying this action. Defendant Intervenors have failed to show undue prejudice.




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        ONDA's proposed supplemental and amended complaint is not time-barred either.

Intervenor Defendants contend that the proposed supplemental and amended complaint is time-

barred to the extent it seeks to retain claims challenging agency actions from 2006 through 2010.

The applicable statute of limitations requires ONDA to have filed its complaint within six years

after its right of action accrued. See 28 U.S.C. 2401(a). ONDA asse1ied claims for agency

grazing decisions from 2006 through 2009 in its FAC, which it filed on February 24, 2010.

Thus, those claims are clearly not time-barred. As stated above, ONDA's proposed supplemental

and amended complaint seeks to add claims for identical agency decisions between 2010 and

present. Those claims therefore relate back to the date of ONDA's original Complaint. See

William Inglis & Sons Baking, 668 F.2d at 1057 ("Where, however, the original pleading gave

notice that the alleged wrongful conduct was of a continuing nature, supplemental pleadings

addressed to the same conduct should not encounter statute of limitations questions." (footnote

omitted)); Yates v. Auto City 76, 299 F.R.D. 611, 615 (N.D. Cal. 2013) ("Relation back can apply

to supplemental pleadings, and not just amended pleadings." (citing United States v. Ci'vlA, Inc.,

890 F.2d 1070, 1073-74 (9th Cir.1989)). ONDA's proposed supplemental and amended

complaint is not time-barred.

       Finally, I also reject Intervenor Defendants' argument that ONDA's proposed

supplemental and amended complaint is futile. The test for futility is the same as the test applied

on a Rule 12(b)(6) motion. See Fulton v. Advantage Sales & lvlktg., LLC, No. 3:11-CV-01050-

MO, 2012 WL 5182805, at *2 (D. Or. Oct. 18, 2012). Thus, ONDA's proposed supplemental

and amended complaint is not futile if it contains sufficient factual matter, accepted as true, to

state a claim that is "plausible on its face." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal

quotation marks omitted) (quoting Bell At/. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).




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Intervenor Defendants argue that the proposed supplemental and amended complaint seeks to

impermissibly challenge Federal Defendants' "pattern and practice" of violating environmental

statutes. I disagree.

        When a patty seeks judicial review under the AP A, as ONDA does here, it must identify

a "final agency action" that caused its alleged harm. See Lujan v. Nat'/ Wildlife Fed'n, 497 U.S.

871, 882 (1990). An agency's policy, pattern, or practice is not a final agency action. See id. at

889-90. However, ONDA's proposed supplemental and amended complaint does not asse1t a

challenge to an agency policy, pattern, or practice. Rather, the proposed supplemental and

amended complaint clearly asserts challenges to discrete agency decisions-"grazing permits,

permit renewals, AO Is, Grazing Pennit Modifications, annual authorization letters, and other

grazing authorizations"-issued between 2006 and 2015. See Proposed Fifth Am. Comp!.             ifif 83,
88 (#385-1). Those are final agency actions reviewable under the APA:

        As stated above, the Ninth Circuit already determined in this case that Federal

Defendants' AOis constitute final agency actions. Oregon Nat. Desert Ass'n, 465 F.3d at 990.

The Ninth Circuit also made clear, in that same decision, that Federal Defendants' grazing

permits are also final agency actions. See id. at 984-85 (9th Cir. 2006) (citing Idaho Watersheds

Project v. Hahn, 307 F.3d 815 (9th Cir. 2002)). ONDA alleges in its proposed supplemental and

amended complaint that Federal Defendants' Grazing Permit Modifications and annual

authorization letters are essentially AO Is in disguise. See Proposed Fifth Am. Comp!.     ifif 38, 65
(#385-1). Thus, ONDA's proposed supplemental and amended complaint contains sufficient

factual matter to state a claim that is plausible on its face. See Iqbal, 556 U.S. at 678 (internal

quotation marks omitted) (quoting Twombly, 550 U.S. at 570); see also Lujan, 497 U.S. at 890 n.

2 (noting that a final agency action may be challenged under the APA even if, as a practical




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matter, judicial review of the action would affect a larger agency program in its entirety). On the

record before the comi, ONDA's proposed supplemental and amended complaint is not futile.

                                         CONCLUSION

       For the reasons provided above, ONDA's Motion (#385) is granted. ONDA is ordered to

file its Fifth Supplemental and Amended Complaint within 30 days of this Order.



       Dated this 9th day of March, 2016.

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                                                             Honorable Paul Papak
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                                                             United States Magistrate Judge




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